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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA




   SLAM DUNK I, LLC, on behalf of itself
   and all others similarly situated,

         Plaintiff,                        Case: 1:19-cv-21996-MGC

         v.

   CONNECTICUT GENERAL LIFE
   INSURANCE COMPANY,

         Defendant.



      DEFENDANT CONNECTICUT GENERAL LIFE INSURANCE COMPANY’S
      MOTION TO DISMISS SLAM DUNK’S AMENDED AND SUPPLEMENTAL
                       CLASS ACTION COMPLAINT
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          Defendant Connecticut General Life Insurance Company (“Connecticut General”)
   respectfully moves to dismiss Plaintiff Slam Dunk I, LLC’s (“Slam Dunk”) Amended and
   Supplemental Class Action Complaint (ECF No. 69).

                                        INTRODUCTION

          This is Slam Dunk’s second attempt to claw back premiums it paid on its portfolio of
   Connecticut General group universal life (“GUL”) insurance policies (collectively, the
   “Policies”). Slam Dunk’s initial Complaint (ECF No. 1) challenged Connecticut General’s
   failure to reduce cost of insurance (“COI”) rates on the Policies. Although the contract states
   that Connecticut General “may” adjust COI rates from time to time, the Complaint
   alleged—contrary to that contractual language—that Connecticut General was obligated to
   adjust (and, more specifically, reduce) its COI rates in light of improving mortality
   expectations. Compl. ¶¶ 4, 8, 35. The Court properly rejected that theory and dismissed the
   Complaint. Order Granting Mot. to Dismiss (ECF No. 64).
          In its Amended and Supplemental Class Action Complaint, Slam Dunk continues to
   press that same argument, while also adding a new theory. See, e.g., Am. Compl. ¶ 3. After
   never having alleged in its initial Complaint that Connecticut General ever adjusted or
   increased any COI rates on Slam Dunk’s Policies, Slam Dunk now asserts that Connecticut
   General did in fact make COI rate “adjustments” within the five-year statute-of-limitations
   period preceding the filing of the Complaint. See id. ¶¶ 35-37, 48. Furthermore, Slam Dunk
   asserts Connecticut     General breached its contractual obligations because those
   “adjustments” allegedly were not based solely, or at least principally, on expectations of
   future mortality experience. Id. ¶¶ 4-5.
          There is a good reason Slam Dunk never made these factual allegations or advanced
   this theory previously. As shown by COI rate tables for Slam Dunk’s Policies (the “Rate
   Tables”), Connecticut General made no such adjustments. Rather, the COI rates that Slam
   Dunk challenges (i.e., the “increases” to which Slam Dunk refers in its Amended
   Complaint) have been in effect for a decade. They involved no adjustment but rather,
   constituted Connecticut General’s implementation of the COI rates according to the
   insured’s age, as spelled out in the existing COI Rate Tables for Slam Dunk’s Policies.
   These COI Rate Tables, which are common features of universal life insurance policies,



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   contain rates corresponding to each year of an insured’s life. The rates in these tables
   generally increase with age, reflecting the progressively greater risk of death as an insured
   individual grows older. The important point for purposes of considering Slam Dunk’s
   Amended Complaint, however, is that Slam Dunk does not—and cannot—allege that
   Connecticut General adjusted the Rate Tables applicable to Slam Dunk.
          As a result, Slam Dunk ultimately is left with the same theory of its previously-
   dismissed Complaint—i.e., the assertion that given purported improvements in future
   mortality experience, Connecticut General breached its contractual obligations by “fail[ing]
   to adjust COI rates downward.” Am. Compl. ¶ 3. This Court already rejected that theory,
   however, properly recognizing that Slam Dunk’s assertion flatly contradicts the “may”
   language of the contract. See Dec. 19, 2019 Hearing Tr. at 18.
          Slam Dunk’s claims fail for other reasons as well. First, the age-based COI rates
   within the existing COI Rate Tables are explicitly permitted by the contract, which states
   that COI rates “are based on the Insured’s Attained Age,” among other things. Am.
   Compl., Ex. A, at 18. That makes sense. As Slam Dunk recognizes, age is “tied directly to
   expectations of future mortality experience.” Am. Compl. ¶ 33. Additionally, Slam Dunk’s
   interpretation of the Policies—obligating Connecticut General to base any actual
   adjustments to COI rates solely on mortality—contradicts the plain text of the Policies and
   is inconsistent with both actuarial principles and state regulatory frameworks.
          In sum, while Slam Dunk tries to creatively plead around the flaws of its initial
   Complaint, it again runs up against the plain text of the Policies. Slam Dunk fails to state a
   claim for breach of contract or breach of the implied covenant of good faith and fair dealing,
   and the Amended Complaint should be dismissed with prejudice.

                                 STATEMENT OF THE CASE

          This case began with a May 16, 2019 Complaint, alleging that Connecticut General
   breached life insurance policies by failing to reduce COI rates despite improving mortality
   experience. See Compl. ¶¶ 4, 8, 35. The Court rejected that theory: “[T]he policy here
   clearly states the defendant may adjust the COI rates from time to time,” thus “refut[ing]”
   Slam Dunk’s assertion that Connecticut General was “required to adjust the rates”
   downward in light of improving mortality experience. Dec. 19, 2019 Hearing Tr. at 18



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   (emphases added). Nowhere in the Complaint did Slam Dunk allege that Connecticut
   General had ever adjusted or increased the COI rates in the years since Slam Dunk acquired
   the Policies in 2010.1
           Now, desperate to keep this case alive, Slam Dunk claims to have suddenly
   discovered such “adjustments” in the five years preceding the May 2019 Complaint, and it
   adds a new theory challenging those purported “adjustments.” Am. Compl. ¶ 37. Because
   mortality experience was allegedly improving, Slam Dunk asserts, the Policies required
   Connecticut General either to reduce COI rates or, at minimum, to refrain from adjusting
   the rates upward. Id. ¶¶ 2-3, 5, 8, 49, 62. The original Complaint did not so much as allude
   to these “adjustments,” and for good reason:                  As the contract documents show, the
   purported COI rate increases that Slam Dunk challenges in its Amended Complaint did not
   involve any adjustment to the Policies’ COI rates.

           A.       Slam Dunk And Its Policies

           Slam Dunk is a life settlement company that allegedly purchased the coverage of 22
   individuals under 11 Connecticut General GUL certificates.                      Am. Compl. ¶ 9.          GUL
   certificates are issued to employer groups like Hyatt and Citibank. See id. ¶¶ 17, 24. One
   such certificate (the “Certificate”) is attached as Exhibit A to the Amended Complaint.
   Slam Dunk alleges that the material terms of each certificate under which it has purchased
   coverage are substantially similar. Id. ¶ 10.
           The Certificate provides that an employee may elect a death benefit “Coverage
   Amount” that corresponds to his or her salary. Certificate at 8-9; see also Am. Compl. ¶ 25.
   In return, the employee agrees to a “Monthly Deduction” that is calculated using the
   Monthly COI Rate. Certificate at 17. Monthly COI Rates are defined as follows:
           The Monthly Cost of Insurance Rates are based on the Insured’s Attained
           Age, the type of benefit, the Class of Insured and whether premiums for that
           Insured are paid directly to [Connecticut General] or through payroll
           deductions. The Monthly Cost of Insurance Rates are determined by
           [Connecticut General] based on its expectations as to future mortality
           experience. Adjustments in the Monthly Cost of Insurance Rates may be
           made by [Connecticut General] from time to time, but not more than once a
   1
            See Pl.’s Request for Judicial Notice, Ex. 2 (ECF No. 26-2) (November 30, 2010 order approving sale
   of Policies to Slam Dunk); Order Granting Pl.’s Request for Judicial Notice (ECF No. 43); see also United States
   ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 811 (11th Cir. 2015) (“court may consider judicially noticed
   documents” on motion to dismiss).


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          year, and will apply to Insureds of the same class. Under no circumstances
          will the Monthly Cost of Insurance Rates for Life Insurance ever be greater
          than those shown in the Table of Guaranteed Maximum Life Insurance
          Rates. Such guaranteed maximum rates are based on the Commissioners
          1980 Extended Term Table (age last birthday) and 4% effective annual
          interest.
   Id. at 18 (the “COI Provision”). As the COI Provision indicates, there is one guarantee
   regarding the COI rates—they shall not exceed the maximum rates shown in the Table of
   Guaranteed Maximum Life Insurance Rates. This table lists maximum rates corresponding
   to the insured’s “Attained Age”—i.e., the age the insured reaches each year. See id. at 5.
          Because mortality risk generally increases with age, the Certificate provides that COI
   rates are based on, among other things, “the Insured’s Attained Age.” Certificate at 18.
   COI rates for individual GUL policyholders thus correspond to the insured individual’s
   Attained Age and generally become greater over time as the insured individual grows older.
   These rates are set forth in the Rate Tables, which list COI rates by Attained Age. Rate
   Tables for three of the certificates under which Slam Dunk has purchased coverage are
   attached as Exhibits A, B, and C to the Declaration of Anne Marie Nicholas. One of these
   Rate Tables—for the Hyatt Certificate (Nicholas Decl. Ex. A)—is excerpted below:




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   Figure 1: Excerpt of Rate Table for Hyatt Certificate (Individual Certificate No. 6134709)




           As explained below, these tables provide the rates referred to in Paragraphs 35 and
   36 of the Amended Complaint. Such rates, found in contractual Rate Tables, are “central to
   the plaintiff’s claim” and therefore may be considered on a motion to dismiss. Osheroff, 776
   F.3d at 811; see also Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005) (“if the document’s
   contents are alleged in a complaint and no party questions those contents, [the Court] may
   consider such a document provided” the document is central to plaintiff’s claims).2



   2
             The Certificate explicitly refers to the Monthly COI Rates described in the Rate Tables. See Certificate
   at 17-18. The COI rates, as listed in the Rate Tables, are thus part of the Policies themselves. For this reason
   too, the Court can consider the Rate Tables on a motion to dismiss. See Day, 400 F.3d at 1276 (affirming
   district court’s consideration of contract attached to motion to dismiss because complaint’s “references to the
   … contract [were] a necessary part of [plaintiffs’] effort to make out a claim”); G&G TIC, LLC v. Alabama
   Controls, Inc., 324 F. App’x 795, 798 (11th Cir. 2009) (“district court’s consideration of the contract referenced
   in” complaint and attached to motion to dismiss breach of contract claim “was proper”); Zapata v. Royal
   Caribbean Cruises, Ltd., 2013 WL 1296298, at *6 (S.D. Fla. Mar. 27, 2013) (considering agreement on motion to
   dismiss because plaintiff had “placed the agreement at the center of its … claim”).


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           To calculate the Monthly Deduction, Connecticut General multiplies the applicable
   COI rate, which is “based on the Insured’s Attained Age,” by the amount of coverage the
   insured individual has elected. Certificate at 17 (the “Monthly Deduction Provision”); see
   also Am. Compl. ¶ 23 (alleging that Connecticut General “calculates the COI charge by
   multiplying the applicable COI rate by the net amount at risk”).

           B.      Slam Dunk’s Complaints

           Slam Dunk’s initial Complaint alleged that the COI Provision required Connecticut
   General to calculate COI rates “‘based on’ expectations of future mortality experience—and
   nothing else.”3 Compl. ¶ 2; see also id. ¶ 32. The premise of Slam Dunk’s breach of contract
   and related claims was that Connecticut General “has not lowered the COI rates it charges
   for its GUL policies” even though “[m]ortality rates have declined significantly over the
   past several decades.” Id. ¶ 4 (emphasis omitted); see also id. ¶¶ 8, 35. The Court dismissed
   the Complaint, ruling that the plain text of the Certificate permits Connecticut General to
   change its COI rates but does not require it to do so. Dec. 19, 2019 Hearing Tr. at 18; see also
   Order Granting Mot. to Dismiss.
           Slam Dunk’s Amended Complaint now adds another theory, purporting to challenge
   “adjustments” made to COI rates applicable to its Policies (the “Policy Rates”) during the
   five-year period preceding the filing of the Complaint. Am. Compl. ¶ 37. In fact, as the
   contractual Rate Tables show, the COI “increase[s]” (id. ¶¶ 35-36) that Slam Dunk alleges in
   its Amended Complaint were not the result of any adjustment of the Policy Rates, but rather
   involved only the implementation of rates set forth in existing Rate Tables.
           More specifically, Slam Dunk’s only concrete allegations of purported “adjustments”
   to Policy Rates appear in Paragraphs 35 and 36 of the Amended Complaint:
          For Individual Certificate No. 6134709, covered under the Hyatt certificate, Slam
           Dunk alleges that the COI increased “four times from April 30, 2015, through April
           30, 2018, by approximately 8.2%, 8.5%, 8.8% and 9.2% per year”;
          For Individual Certificate No. 6185028, covered under the Magellan Health Services
           certificate, Slam Dunk alleges that the COI increased “each year from December 31,

   3
            Slam Dunk’s Amended Complaint repleads this same interpretation of the COI Provision, though it
   offers an alternative interpretation as well, namely that “the COI rate charged must be determined principally
   on [Connecticut General’s] expectations of future mortality experience.” Am. Compl. ¶ 32 (emphasis added).


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          2014, through December 31, 2018, by approximately 8.8%, 9.7%, 10.2%, 10.6% and
          19.3%”; and
         For Individual Certificate No. 6176797, covered under the Continental Air
          certificate, Slam Dunk alleges that the COI “increased by approximately 52.3% for
          the policy year 2015 over policy year 2014, remained unchanged for two years, and
          then increased approximately 6.7% for policy year 2018 over policy year 2017.”
   Am. Compl. ¶¶ 35-36. These alleged changes were not adjustments in Policy Rates, as Slam
   Dunk characterizes them. Rather, as the contractual Rate Tables demonstrate, the rates
   were all contained in the Policies’ existing Rate Tables.
          For example, the Hyatt Rate Table, which went into effect on May 1, 2009 (before
   Slam Dunk’s acquisition of the Policies and more than a decade before Slam Dunk filed the
   Complaint in this case), discloses that the applicable Policy Rate for Individual Certificate
   No. 6134709 between May 1, 2014, and April 30, 2015, when the insured had an Attained
   Age of 48, was 0.498 per $1,000 of coverage. See Nicholas Decl. Ex. A. On May 1, 2015,
   when the insured’s Attained Age increased to 49, the rate was 0.539—an increase of 8.2%
   over the previous policy year, the same 8.2% increase alleged in Paragraph 35 of the
   Amended Complaint. As shown further below, infra Part I.A.1, all the other changes
   alleged in Paragraphs 35 and 36 likewise correspond simply to the differences in the already-
   existing COI rates by Attained Age. Thus, what Slam Dunk calls “adjustments” in its
   Amended Complaint (e.g., ¶ 37) were no such thing; they were simply application of the
   COI rates set forth in the existing Rate Tables.
          The foundation for all of Slam Dunk’s theories in this case is its allegation that
   mortality experience has been improving. Am. Compl. ¶ 38. As to its new “adjustment”
   theory then, Slam Dunk asserts that if and when Connecticut General makes adjustments, it
   must do so exclusively, or at least principally, based on mortality experience. Id. ¶ 4. And,
   because Slam Dunk asserts that Connecticut General “adjusted” COI rates “upward,” Slam
   Dunk argues that Connecticut General breached its obligations under the Policies. Id. ¶¶ 37,
   49. The Amended Complaint asserts two claims against Connecticut General: (1) breach of
   contract for failure to consider mortality “when [Connecticut General] adjusted” COI rates,
   including by increasing COI rates despite improving mortality experience; and (2) breach of
   the implied covenant of good faith and fair dealing arising from the same alleged conduct.


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   Id. ¶¶ 62, 72. Slam Dunk purports to represent a class of GUL policyholders whose policies
   were “issued and [are] currently administered by Connecticut General” and whose COI
   rates were increased since May 16, 2014 (i.e., five years before the filing of the Complaint).
   Id. ¶ 50.

                                                 ARGUMENT

           Slam Dunk’s Amended Complaint fails to state a claim upon which relief may be
   granted and accordingly should be dismissed under Rule 12(b)(6) of the Federal Rules of
   Civil Procedure. “To survive a motion to dismiss” under Rule 12(b)(6), “a complaint must
   contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
   on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
   550 U.S. 544, 570 (2007)). A complaint may not rest on conclusory allegations, as those are
   “not entitled to the assumption of truth.” Id. at 679; see also Randall v. Scott, 610 F.3d 701,
   709-10 (11th Cir. 2010).

   I.      Slam Dunk Fails To State A Plausible Claim For Breach Of Contract

           The core allegation in Slam Dunk’s initial Complaint was that improved mortality
   expectations obligated Connecticut General to reduce Policy Rates. The Complaint did not
   allege any increase in rates, and the Court rejected Slam Dunk’s theory that Connecticut
   General must decrease rates.
           Having failed to state a breach of contract claim under the “failure to adjust” theory
   of the initial Complaint, Slam Dunk now asserts a new, diametrically-opposite theory,
   challenging purported upward “adjustments” of COI rates between May 16, 2014, and May
   16, 2019.4 Slam Dunk alleges that mortality experience has been improving (e.g., Am.
   Compl. ¶ 38) and that in light of that improvement, Connecticut General had two
   obligations under the Policies: (1) to reduce Policy Rates, see id. ¶ 7 (“COI rates for [Slam
   Dunk’s] policies should have decreased”); see also id. ¶¶ 2-3, 5, 49, 62, and (2) to refrain from
   adjusting COI rates upward, see id. ¶¶ 2-3, 8, 49, 62. This Court previously rejected the first


   4
            The allegations in the Amended Complaint are confined to the five-year period before the filing of the
   Complaint, reflecting Florida’s five-year statute of limitations for such claims. See Mot. to Dismiss (ECF No.
   13) at 9-11; Reply in Supp. of Mot. to Dismiss (ECF No. 34) at 4-5. For this reason, Slam Dunk’s claims as
   currently pled do not fall afoul of Florida’s statute of limitations. See Fla. Stat. § 95.11(2)(b). By the same
   token, Slam Dunk cannot claim to challenge conduct that occurred beyond the limitations period.


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   theory. And as to the second, the Policies’ Rate Tables show that Slam Dunk’s allegations
   of COI increases do not involve any adjustments to the Policy Rates—either within the last
   five years (as Plaintiffs allege), or indeed since Slam Dunk acquired the policies. Slam
   Dunk’s breach of contract claim accordingly should be dismissed with prejudice.

          A.      Slam Dunk’s Breach Of Contract Claim Ultimately Rests On The Same
                  Interpretation Of The Policies That The Court Previously Rejected

                  1.     Slam Dunk does not allege any adjustments of the Policy Rates

          Slam Dunk’s new breach of contract theory challenges Connecticut General’s
   purported actions that, in Slam Dunk’s view, “adjusted” COI rates within the five-year
   period preceding the filing of the initial Complaint. Am. Compl. ¶ 62. According to the
   Amended Complaint, “in the five years prior to filing this action, Defendant adjusted the
   COI at least once for each policy owned by Plaintiff and the putative Class members and
   each adjustment resulted in an increased COI charge to the policyholders.”               Id. ¶ 6.
   Connecticut General allegedly breached the Policies “because it did not base [these]
   adjustments on its expectations as to future mortality experience.” Id. ¶ 49; see also id. ¶ 32.
          A necessary premise of this theory is that Connecticut General did in fact adjust
   Policy Rates. The Rate Tables show, however, that the purported “adjustments” alleged in
   the Amended Complaint involved no such thing.
          As noted above, the only concrete allegations about any changes in Policy Rates
   appear in Paragraphs 35 and 36 of the Amended Complaint. These paragraphs concern
   rates for individuals covered under three employers’ certificates—Hyatt, Magellan Health
   Services, and Continental Air. As the Rate Tables for these three certificates demonstrate,
   Slam Dunk’s allegations about rate “adjustments” actually refer not to any adjustments in
   the Policy Rates, but rather to implementation, according to the insured’s Attained Age, of
   the very COI rates in the existing Rate Tables. The facts contained in these documents
   govern, and Slam Dunk’s conclusory allegations to the contrary cannot suffice to state a
   plausible breach of contract claim. See Day, 400 F.3d at 1276-78 (holding that district court
   properly considered contract attached to motion to dismiss, and that contents of contract
   trumped conclusory allegations in complaint).
          For Individual Certificate No. 6134709, covered under the Hyatt certificate, the
   applicable Policy Rate between May 1, 2014, and April 30, 2015, when the insured had an


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   Attained Age of 48, was 0.498 per $1,000 of coverage. See Nicholas Decl. Ex. A. On May
   1, 2015, when the insured’s Attained Age was 49, the rate was 0.539. The difference
   between these two existing rates accounts for the 8.2% increase alleged in Paragraph 35 of
   the Amended Complaint. The other increases alleged in Paragraph 35 likewise correspond
   to differences in rates by Attained Age set forth in the existing Hyatt Rate Table:

   Figure 2: Policy Rates for Hyatt Certificate (Individual Certificate No. 6134709)

        Attained Age                  Rate                Percentage Change from Previous
                                                                   Attained Age
              48                     0.498
              49                     0.539                              8.23%
              50                     0.585                              8.53%
              51                     0.637                              8.89%
              52                     0.696                              9.26%

           The same is true for the increases alleged in Paragraph 36 for Individual Certificate
   Nos. 6185028 and 6176797. See Nicholas Decl. Exs. B, C. Each rate was provided for in
   the existing Rate Table:

   Figure 3: Policy Rates for Magellan Health Services Certificate (Individual Certificate No. 6185028)

        Attained Age                  Rate                Percentage Change from Previous
                                                                   Attained Age
              50                     0.554
              51                     0.603                              8.84%
              52                     0.662                              9.78%
              53                     0.730                             10.27%
              54                     0.808                             10.68%
              55                     0.964                             19.31%




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   Figure 4: Policy Rates for Continental Air Certificate (Individual Certificate No. 6176797)

        Attained Age                  Rate                Percentage Change from Previous
                                                                   Attained Age
              54                     0.836
              55                     1.274                             52.39%
              56                     1.274                               0%
              57                     1.274                               0%
              58                     1.360                              6.75%


           As is clear, Connecticut General did not adjust the rates at issue in Slam Dunk’s
   allegations; rather, Connecticut General implemented the rates already set forth in the
   existing Rate Tables.      And Connecticut General did so in precisely the way that the
   Certificate says it will occur.      According to the Monthly Deduction Provision of the
   Certificate, an insured’s Monthly Deduction consists of “the Monthly Cost of Insurance
   Rate for Life Insurance based on the Insured’s Attained Age and the Insured’s Coverage
   Amount.”        Certificate at 17 (emphasis added).       Of course, an insured’s Attained Age
   increases annually and the rate for each such age is contained in the existing Rate Table.
           Case law from other courts confirms that the application of predetermined age-based
   rates found in an existing rate table is not the sort of adjustment that triggers scrutiny under
   a COI provision in times when mortality expectations are alleged to be improving. In Yue v.
   Conseco Life Insurance Co., 2011 WL 210943 (C.D. Cal. Jan. 19, 2011), for example, the court
   addressed a universal life insurance policy featuring COI rates that “become larger each year
   as the insured ages.” Id. at *2. The issue in Yue was not whether those existing, scheduled
   increases were proper; rather, the court focused on contemplated changes (and, indeed,
   increases) to the “COI rate scales” themselves. Id. at *6-7; see also In re Lincoln Nat’l COI
   Litig., 269 F. Supp. 3d 622, 631 (E.D. Pa. 2017) (addressing increase to the “rate schedule”
   rather than any preset increases in an existing schedule).
           Because the only rates alleged in the Amended Complaint are the rates already found
   in the existing Rate Tables, the Amended Complaint fails to state any claim regarding any
   adjustments to Policy Rates. There is no allegation, nor could there be, that Connecticut
   General changed the Rate Tables applicable to Slam Dunk.



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                  2.     This Court’s dismissal of the initial Complaint requires dismissal of Slam
                         Dunk’s only possible theory

          Because Slam Dunk cannot rely on any actual adjustments in Policy Rates for its
   breach of contract claim, all it has left is its renewed challenge to existing rates—i.e., the
   assertion that Connecticut General was obligated to reduce the rates found in those existing
   Rate Tables in light of improving mortality experience. See, e.g., Am. Compl. ¶ 3. This
   Court properly rejected that obligation as contrary to the plain text of the COI Provision,
   under which Connecticut General “may” adjust rates from time to time but has no
   obligation to do so. Certificate at 18. Slam Dunk’s Amended Complaint adds nothing on
   this point, and therefore fails to state a breach of contract claim.

          B.      The Policies Explicitly Permit Application Of Rates Based On Attained
                  Age

          If Slam Dunk were to insist that even the application of existing COI Rate Tables
   according to Attained Age constitutes an impermissible “upward” adjustment of its COI
   rates, the text of the Certificate explicitly rejects any such theory of contract breach. This is
   because the COI Provision of the Certificate states explicitly that Monthly COI Rates “are
   based on the Insured’s Attained Age,” among other factors.             Certificate at 18 (emphasis
   added). This sentence thus plainly permits Connecticut General to apply predetermined
   Policy Rates based on “the Insured’s Attained Age.” See Swire Pac. Holdings, Inc. v. Zurich
   Ins. Co., 845 So. 2d 161, 165 (Fla. 2003) (“[I]nsurance contracts must be construed in
   accordance with the plain language of the policy.”); Hatadis v. Achieva Credit Union, 159 So.
   3d 256, 259 (Fla. Dist. Ct. App. 2015) (“When interpreting a contract, the court must first
   examine the plain language of the contract for evidence of the parties’ intent.” (citation
   omitted)).
          Moreover, Slam Dunk cannot plausibly deny that age-based changes in the existing
   Policy Rates reflect changes in mortality expectations. Slam Dunk itself alleges that “the
   Insured’s Attained Age” is “tied directly to expectations of future mortality experience.”
   Am. Compl. ¶ 33 (emphasis added). It would be implausible to suggest otherwise.




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          C.        Slam Dunk’s Interpretation Of The COI Provision Is Unreasonable

          Finally, while it is unnecessary for the Court to reach these arguments given that the
   Amended Complaint does not actually allege any adjustments in the Policy Rates, Slam
   Dunk’s contract claims also separately fail because the COI Provision did not require
   Connecticut General to consider only expectations as to future mortality when adjusting
   rates. Slam Dunk’s assertion to the contrary is not a plausible reading of the contract for
   three reasons.
          First, Slam Dunk implausibly interprets the words “based on” to mean “solely based
   on.” Properly interpreted, the COI Provision only requires Connecticut General to use
   mortality as a “foundation” or “chief constituent” of COI rates. See American Heritage
   Dictionary 148 (4th ed. 2000) (defining “based” as “[t]o find a basis for; establish”); id. at 150
   (defining “basis” as “[a] foundation upon which something rests” or “[t]he chief constituent;
   the fundamental ingredient”).       Slam Dunk actually suggests this interpretation in its
   Amended Complaint. Am. Compl. ¶ 4 (“Alternatively, the ‘based on’ language requires, at
   a minimum, that [Connecticut General’s] expectations of future mortality experience be a
   principal component of the COI rate.”). This interpretation accords with the only federal
   Court of Appeals decision interpreting similar language—the Seventh Circuit’s decision in
   Norem v. Lincoln Benefit Life Co., 737 F.3d 1145 (7th Cir. 2013). As that court explained, the
   various definitions of “base” and its derivatives simply do not imply exclusivity; something
   may be based on one, principal factor but nonetheless rely on other factors as well. Id. at
   1149-50. A Wisconsin district court, applying Florida law, adopted this same interpretation
   in Maxon v. Sentry Life Insurance Co., 2019 WL 4540057 (W.D. Wis. Sept. 19, 2019).
          Second, requiring Connecticut General to base its COI rates solely on mortality
   would be inconsistent with fundamental actuarial principles underlying life insurance
   policies. In essence, insurance pools risk among policyholders and distributes the collective
   costs of insuring against that risk. See 2 New Appleman on Insurance §§ 11.01, 11.02 (Law
   Library ed. 2019). The fundamental bargain of a life insurance policy is that policyholders
   receive protection against mortality risk in exchange for premium payments that both cover
   the collective costs of providing that protection and ensure reasonable profit for the insurer.
   See 1 New Appleman on Insurance § 1.01[1]. COI rates are one part of that fundamental
   bargain. The Actuarial Standards Board’s Actuarial Standards of Practice (“ASOPs”) show


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   that COI rates should be determined by “anticipated experience factors,” e.g., ASOP No. 2,
   Nonguaranteed Charges or Benefits for Life Insurance Policies and Annuity Contracts § 4.2(h) (rev.
   ed. Mar. 2013), which include more than simply mortality expectations—e.g.,
   considerations such as “investment income, mortality, policy termination, and expense
   rates,” id. § 2.1. See also ASOP No. 24, Compliance with the NAIC Life Insurance Illustrations
   Model Regulation § 2.9 (rev. ed. Dec. 2016) (defining the “nonguaranteed element
   framework” as including “anticipated experience factors”); id. § 2.4 (defining “experience
   factors” to “include rates of mortality, expense, investment income, termination, and
   taxes”).   In short, the actuarial principles underlying life insurance establish that
   “expectations of future mortality experience” are one factor assessed in calculating cost of
   insurance rates, but not the only factor. See, e.g., Norem, 737 F.3d at 1154; Maxon, 2019 WL
   4540057, at *2. Slam Dunk’s implausible interpretation, by contrast, suggests that the cost
   of insurance rates need not even cover the actual cost of insurance.
          Third, Slam Dunk’s interpretation is inconsistent with fundamental regulatory
   principles underlying life insurance policies. Florida and other state regulators had the
   responsibility to review not only the policy language at issue, but the actuarial pricing
   underlying the Policy Rates. See Fla. Stat. §§ 625.121, 627.062; Fla. Admin. Code r. 69O-
   149.006 (describing required contents of actuarial memoranda submitted to Florida Office
   of Insurance Regulation); Fla. Admin. Code r. 69O-149.023 (providing for review of forms
   filed with Office of Insurance Regulation).            That review is conducted with the
   understanding, consistent with the actuarial principles discussed above, that COI rates may
   reflect factors in addition to “expectations as to future mortality experience.” The fact that
   Slam Dunk does not (and cannot) allege that regulators found any inconsistency between
   the terms of the COI Provision in the Certificate and the applicable actuarial standards
   confirms that Slam Dunk’s interpretation of the COI Provision is implausible. Cf. Patel v.
   Specialized Loan Servicing, LLC, 904 F.3d 1314, 1321-22 (11th Cir. 2018) (explaining that
   filed-rate doctrine precludes challenges to insurance rates approved by regulator).

   II.    Slam Dunk Fails To State A Claim For Breach Of The Implied Covenant Of
          Good Faith And Fair Dealing

          Slam Dunk’s second claim, for breach of the implied covenant of good faith and fair
   dealing, arises from precisely the same alleged conduct and theory as Slam Dunk’s breach of


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   contract claim, challenging Connecticut General’s conduct in allegedly “making its COI
   adjustments” (Am. Compl. ¶ 71)—and therefore fails for the same reasons.
          “‘[E]very contract contains an implied covenant of good faith and fair dealing’ under
   Florida law.”    Resnick v. AvMed, Inc., 693 F.3d 1317, 1329 (11th Cir. 2012) (quoting
   Centurion Air Cargo, Inc. v. United Parcel Serv. Co., 420 F.3d 1146, 1151 (11th Cir. 2005)). But
   “[a] claimant asserting a cause of action for breach of the implied covenant must allege ‘a
   failure or refusal to discharge contractual responsibilities, prompted … by a conscious and
   deliberate act, which unfairly frustrates the agreed common purpose and disappoints the
   reasonable expectations of the other party.’” Id. (quoting Tiara Condo. Ass’n, Inc. v. Marsh &
   McLennan Cos., Inc., 607 F.3d 742, 747 (11th Cir. 2010)). An implied covenant of good faith
   and fair dealing claim fails “where there is no accompanying action for breach of an express
   term of the agreement.” QBE Ins. Corp. v. Chalfonte Condo. Apartment Ass’n, Inc., 94 So. 3d
   541, 548 (Fla. 2012).
          Slam Dunk’s breach of contract claim premised on purported COI adjustments fails,
   so its implied-covenant claim based on the same purported COI adjustments necessarily
   fails as well. See QBE Ins., 94 So. 3d at 548; see also Ahearn v. Mayo Clinic, 180 So. 3d 165,
   170 (Fla. Dist. Ct. App. 2015) (“Since [defendant’s] individual breach of contract claim was
   extinguished, any claim for breach of the implied covenant of good faith and fair dealing is
   also extinguished.”).

                                          CONCLUSION

          For the reasons set forth above, Connecticut General respectfully requests that the
   Court grant this Motion and dismiss Slam Dunk’s Amended Complaint with prejudice.




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   Dated: February 13, 2020           Respectfully submitted,


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                                    CERTIFICATE OF SERVICE
            I HEREBY CERTIFY that on February 13, 2020 the foregoing was filed with the
   Clerk of the Court using CM/ECF. I further certify that a true and correct copy of the
   foregoing is being served on the following via transmission of Notices of Electronic Filing
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